EXHIBIT A
UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA
DOCKET NO. 3:21-CR-00220 (VAB)(RAR)

Plaintiff,
v.
MAHESH PATEL, ET AL.

Defendant. : JANUARY 10, 2022

STATE OF NEW YORK _)
COUNTY OF NEW YORK. )ss.:

GUY PETRILLO, being duly sworn, states:

1. I am an attorney duly admitted to practice law in the State of New York
and before the U.S. District Court for the Southern District of New York, the U.S. District Court
for the Eastern District of New York, the U.S. Court of Appeals for the Second Circuit, and the
Supreme Court of the United States, among others. 1 was admitted to the bar of the State of New
York in 1987 and am a member in good standing. My New York State registration number is
2127348. I was admitted to practice before the U.S. District Court for the Southern District of
New York in 1987 and am a member in good standing, with bar number GP5891. I was admitted
to practice before the U.S. District Court for the Eastern District of New York in 1987 and am a
member in good standing, with bar number GP5891. I was admitted to practice before the U.S.
Court of Appeals for the Second Circuit in 1993, was readmitted in 2014, and am a member in
good standing. I was admitted to practice before the Supreme Court of the United States in 2006
and am a member in good standing. In connection with specific cases over the course of my
career, I have also been admitted to other courts, including the U.S. Court of Appeals for the
Fourth Circuit in 2000, the U.S. Court of Appeals for the Seventh Circuit in 1998, and the U.S.
District Court for the Eastern District of Michigan in 2015. In connection with a case in this
District, United States v. Shapiro, 3:15cr. 155 (RNC), I was admitted pro hac vice.

2. My office address and contact information follows:

Petrillo Klein & Boxer LLP
655 Third Avenue, 22"4 Floor
New York, NY 10017

Tel.: (212) 370-0330 (direct
line — 212 370-0331)

Fax: (315) 873-2015

gpetrillo@pkbllp.com
3. I have never been subject to discipline by any court to which I am admitted
or otherwise.

4, There are no pending disciplinary complaints against me as to which a
finding has been made that such complaint should proceed to a hearing.

5: I have not, while facing a disciplinary complaint, been denied admission
to, been disciplined by, resigned from, surrendered my license to practice, or withdrawn an
application for admission to practice before this Court or any other court.

6. I have reviewed and am familiar with the Federal Rules of Civil and
Criminal Procedure, the Local Rules of the United States District Court for the District of
Connecticut, and the Connecticut Rules of Professional Conduct.

te I designate Paul McConnell, Esq. as my agent for service of process and the
District of Connecticut as the forum for resolution of any dispute arising out of my admission,

should it be approved.

8. I respectfully request this Court to grant my application for admission to
practice before the United States District Court for the District of Connecticut.

P ILLO

on rm to before me this

 

\O day of January, 2022
Rotary NY)

LAUREN BAATZ
NOTARY PUBLIC-STATE OF NEW YORK
No, 01BA6341596 _2-
Qualified in New York County
My Commission Expires 11-18-2024
